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MINU'|E ENTRY
AUGTJST 18.2023
VAN MEERVELD, M. J

                                      LTNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA



 UNI'|ED STA'|ES OF AMERICA                                       CRIMINAL AC'IION

 VERSUS                                                           NO.23-159

 JONATHAN FRANK                                                   SECTION: A


                                           INITIAL APPEARANCE

APPEARANCES: X DEFENDANT                                        Et-


                      X ASSIS'InN f t.l.S. A.l"fOt{NL:Y   DAVID RERN4AN

                             swom.
            Designated by Court and
                      -INTERPRETER             Tirne:             .M to              M,


      / DEFENDANT CONSENTED TO APPEAR BY VIDEO

 X / DEFENDANT WAS ADVISED OF HIS RIGHTS

 X / READING OF THE                           ICTMENT WAS:
     RIIAD WAIVEI)

_/ DEFENDANT INFORMED THE COURT THAT COUNSEL HAS BL,EN/WOUI-D BLI
 RE,'TAINED


X*quESTED cor;RT-ApporNTED couNSEL; SWoRN RE T,INANCIAL srAt'tJS
& TEnEnaL PUBLIC DEFENDER APPOINTED TO REPRESENT THE DEFENDANT.
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           Case 2:23-cr-00159-JCZ-KWR Document 24 Filed 08/18/23 Page 2 of 2




_/ BOND Slr'f AT


SPECIAT- CONDITIONS: (1) HE SHALL NO'f COMMIT'A ITEDERAL. Sl'41'll Ot{ LOCnl,
CRIME DURING THE PERIOD OF RELEASE; (2) I.{E SI-tAt,L NOT IN'lERIrlll{E WI]'FI.
INTIMIDATE,'IHREATEN. HARM. OR INFLUENCIT ANY .ltJROIL. GOVTTRNMt,N'l'
WITNESSES. VICTIMS OR FEDERAL AGENTS.




_/ GOVERNMENT ADVISED OF ITS OBLIGATIONS TO PRODUCE ALL EXCUI,PATORY
EVIDENCE TO THE DEFENDANT PURSUANT TO BRADY V, MARYLAIID AND ITS
PROGENY AND ORDERED TO DO SO TIMELY.

( onTNDANT REMANDED To rHE cusroDy oF THE u.s. MARSHAL
          DEFENDAN'| RELEASED ON BOND
-/
XPETENDANT INFORMED THAT PRELIMINARY HEARING/REMoVAL TIEARING/

      AI{RAIG              SET FOR                   ULS+              I


      / HEARING TO DETERMINE COUNSEL IS SET FOR

XJ nETxDANT TNFoRMED THAT DEI'ENTroN nEARING rs sET IroR
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                       J                 \'/ '
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X DEFENDANT ORDERED TO RE-APPEAR FOR PRELIMINARY   HIIARING/RIJMOVAI,

HEARIN              IGNMENT/DETENTION HEARIN                           G TO DETERMINE COUNSEL

WITH COLTNSEL

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